Case 19-01394-5-SWH         Doc 30 Filed 04/22/19 Entered 04/22/19 10:09:58                Page 1 of 2




  SO ORDERED.

  SIGNED this 22 day of April, 2019.


                                                        ___________________________________________
                                                                  Stephani W. Humrickhouse
                                                                United States Bankruptcy Judge

 _________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               WILMINGTON DIVISION

  IN RE:

  CHARLES FRANCIS RAMSBURG,                                        CASE NO. 19-01394-5-SWH
  JAMIE LEE RAMSBURG
                                                                   CHAPTER 13
      DEBTORS

  ORDER REGARDING FAILURE TO FILE APPLICATION TO PAY FILING FEE IN
  INSTALLMENTS, FAILURE TO FILE MOTION FOR TEMPORARY WAIVER OF
 CREDIT COUNSELING, AND FAILURE TO SIGN PETITION AND CERTIFICATION
                        OF MAILING MATRIX

         The matters before the court are the Order to Appear and Show Cause for Failure to File
 Application to Pay Filing Fee in Installments, the Order to Appear and Show Cause for Failure to
 File Motion for Temporary Waiver of Credit Counseling, and the Order to Appear and Show Cause
 for Failure to Sign Petition and Certification of Mailing Matrix issued by the court on April 5,
 2019, Dkt. 22, 23, 24. A hearing was held on April 17, 2019 in Wilmington, North Carolina. The
 pro se debtors failed to appear at the hearing.

         Charles Francis Ramsburg and Jamie Lee Ramsbury (collectively, the “debtors”) filed a
 voluntary petition for relief under Chapter 13 of the Bankruptcy Code on March 28, 2019. Local
 Bankruptcy Rule 1007-1 requires that within 5 days after the commencement of the case, the
 debtors must pay the filing fee, file a motion for waiver of filing fee, or file an application to pay
 the filing fee in installments. The debtors failed to file an application to pay the filing fee in
 installments as required by E.D.N.C. Local Bankruptcy Rule 1007-1.
Case 19-01394-5-SWH         Doc 30 Filed 04/22/19 Entered 04/22/19 10:09:58               Page 2 of 2



         Local Rule 1007-1 also requires the debtors to file a certificate of the credit counseling
 agency within 5 days after the commencement of the case. On Official Form 101, Part 5, the
 debtors indicated that they were unable to obtain credit counseling services and that exigent
 circumstances merit a 30-day temporary waiver of the requirement. Official Form 101, Part 5
 states that to request a 30-day temporary waiver, the debtors must “attach a separate sheet
 explaining what efforts [the debtors] made to obtain the briefing, why [the debtors] were unable
 to obtain it before [the debtors] filed for bankruptcy, and what exigent circumstances required [the
 debtors] to file this case.” The debtors have failed to file a motion for temporary waiver of credit
 counseling.

        Additionally, pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements,
 and amendments should be verified or contain an unsworn declaration as provided in 28 U.S.C.
 § 1746. The petition and certification of mailing matrix were both signed by Jamie Lee Ramsburg;
 however, neither the petition nor the certification of mailing matrix was signed by Charles Francis
 Ramsburg.

         Accordingly, the debtors are directed to file the following documents on or before May 13,
 2019: (1) an application to pay the filing fee in installments; (2) a motion for temporary waiver of
 credit counseling; and (3) a copy of the petition and certification of mailing matrix signed by
 Charles Francis Ramsburg. Failure to file any of the required documents on or before May 13,
 2019 will result in dismissal of the debtors’ case without further notice or hearing.

                                      END OF DOCUMENT




                                                  2
